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July 27, 2023                                                                                                      Member of the Firm
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The Honorable Paul A. Engelmayer
United States District Court
Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

Re:     Teyo Johnson v. Everyrealm et al., Case No.: 22-cv-6669(PAE)(GWG)

Dear Judge Engelmayer:

Further to the parties’ July 3, 2023 letter advising the Court of a settlement in principle and the
Court’s July 5 Order of Dismissal, we write to advise that the parties have finalized their
settlement of this matter. While the Court’s July 5 Order understandably refers to a dismissal
“without prejudice to the right to reopen,” the finalized settlement agreement reflects an
agreement by the parties that the case be dismissed “with prejudice.” Also pursuant to the
finalized agreement, Mr. Johnson has issued the following statement:

        Statements made in the heat of litigation do not necessarily reflect reality, and this
        case is no exception. I regret the harm this has caused Janine Yorio, Everyrealm
        and its employees.


Very truly yours,

/s/ Lloyd B. Chinn

Lloyd B. Chinn




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